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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



    KRISTINA SANSONE                                              CIVIL ACTION
    VERSUS                                                        NO: 18-14093
    JAZZ CASINO COMPANY, LLC                                      SECTION: T (3)


                                           ORDER

       Before the Court is a Motion to Exclude the Testimony and Preliminary Expert Report of

Plaintiff’s Expert Witness Garry Roark filed by Defendant Jazz Casino Company, LLC. 1 Plaintiff

has filed an opposition. 2 The Court having ruled on Defendant’s Motion for Summary Judgment

this date, the Motion to Exclude may be taken up with other pending Motions in Limine. 3

Accordingly,

       IT IS ORDERED that the Motion to Exclude the Testimony and Preliminary Expert

Report of Plaintiff’s Expert Witness is DISMISSED WITHOUT PREJUDICE and may be refiled

to be taken up with the pending Motions in Limine.



       New Orleans, Louisiana, this 30th day of September 2020.




                                                       GREG GERARD GUIDRY
                                                     UNITED STATES DISTRICT JUDGE


1
  R. Doc. 39.
2
  R. Doc. 46.
3
  R. Docs. 92, 93, 94, 95, 97 and 98.
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